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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA

V.                                                        CRIMINAL NO. 4:09-CR-19-DPJ-LRA

CURTIS GRACE                                                                         DEFENDANT

                                             ORDER

       This criminal matter is before the Court on Defendant Curtis Grace’s motion to sever

[65]. The multi-count indictment charges Grace and co-defendants Darren Grace and

LaChristopher Russell with conspiring to willfully damage surveillance equipment of the Drug

Enforcement Administration. Other counts of the indictment charge additional co-defendants

with conspiring with LaChristopher Russell to possess with the intent to distribute controlled

substances. The Court, having fully considered the parties’ submissions and the applicable

authority, concludes that Defendant’s motion should be denied.

I.     Analysis

       Rule 8(b) of the Federal Rules of Criminal Procedure allows for the joinder of multiple

defendants “if they are alleged to have participated in the same act or transaction, or in the same

series of acts or transactions, constituting an offense or offenses.” Fed. R. Crim. P. 8(b). Grace

concedes that joinder was proper. He contends, however, that the Court should sever his case

under Rule 14(a), which allows severance of joined defendants only where joinder “appears to

prejudice a defendant or the government.” “Prejudice” means “a serious risk that a joint trial

would compromise a specific trial right of one of the defendants, or prevent the jury from making

a reliable judgment about guilt or innocence.” Zafiro v. United States, 506 U.S. 534, 539 (1993).


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       The Fifth Circuit Court of Appeals has generally noted that “[p]ersons indicted together

should be tried together, especially in conspiracy cases.” United States v. Rodriguez, 553 F.3d

380, 394 (5th Cir. 2008) (citing United States v. Miranda, 248 F.3d 434, 439 (5th Cir. 2001)

(quoting United States v. Neal, 27 F.3d 1035, 1045 (5th Cir. 1994))). Indeed, joint trials “play a

vital role in the criminal justice system.” Richardson v. Marsh, 481 U.S. 200, 209 (1987).

Finally, the defendant carries the burden of showing “specific and compelling” prejudice that

outweighs the “public interest in judicial efficiency and economy.” Zafiro, 506 U.S. at 537.

       Defendant Grace generically raises the following three arguments: (1) his defense will be

tainted by evidence related to the possession charges against his co-defendants; (2) he will be

deprived of the co-defendants’ testimony, and (3) the defenses could be different. None of these

arguments satisfy Defendant’s burden.

       A.      Taint

       Defendant Grace first claims that he will be prejudiced by the fact that he was not charged

in those counts of the indictment related to possession with intent to distribute controlled

substances. He then baldly claims that the potential for confusion cannot be cured by instructions

or cross-examination because the co-defendants may not testify. Starting with the claimed taint

and the insufficiency of cautionary instructions, the arguments are unavailing.

       As stated above, there is a preference for joint trails. Richardson, 481 U.S. at 209. As

noted in Zafiro, “[I]t is well settled that defendants are not entitled to severance merely because

they may have a better chance of acquittal in separate trials.” 506 U.S. at 540. Moreover, the

Fifth Circuit has often observed that when defendants claim “prejudicial spillover because of the

disparity of evidence against the defendants, limiting instructions can generally cure any


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prejudice caused by joint trials.” United States v. McKinney, 53 F.3d 664, 674 (5th Cir. 1995)

(citations omitted). In this case, Defendant Grace failed to explain how the spillover might taint

his case or why the instructions will not be adequate. This Court will obviously give timely

cautionary instructions, and thus finds that this argument fails to demonstrate the need for

severance.

       B.      Loss of Testimony

       Defendant Grace claims that he may lose the opportunity to cross-examine co-defendants

who exercise their right not to testify. There are instances when “a defendant might suffer

prejudice if essential exculpatory evidence that would be available to a defendant tried alone

were unavailable in a joint trial.” Zafiro, 506 U.S. at 539. The test in this circuit is as follows:

       A movant seeking severance must demonstrate: 1) a bona fide need for the
       testimony, 2) the substance of the desired testimony, 3) its exculpatory nature and
       effect, and 4) the willingness of the co-defendant to testify at a separate trial.
       After such a showing, the court must consider: 1) the significance of the alleged
       exculpatory testimony in relation to the defendant' s theory of defense, 2) the
       extent to which the defendant might be prejudiced by the absence of the
       testimony, 3) judicial administration and economy, and 4) the timeliness of the
       motion.

United States v. Ramirez, 954 F.2d 1035, 1037-38 (5th Cir. 1992) (citations omitted).

       Applying the above cited test, the Fifth Circuit, in United States v. Nguyen, held that

“without an affidavit from the co-defendant himself or other similar proof, ‘conclusory

allegation[s]’ that a co-defendant would testify and what he or she would testify about is not

sufficient. . . . [Likewise, r]epresentations by the defendant’s attorney are not sufficient.” 493

F.3d 613, 625 (5th Cir. 2007) (citing United States v. Sparks, 2 F.3d 574, 583 & n.10 (5th Cir.

1993) (listing precedent); United States v. Neal, 27 F.3d 1035, 1047 (5th Cir. 1994); United



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States v. Williams, 809 F.2d 1072, 1084 (5th Cir. 1987)). Aside from the lack of supporting

affidavits or similar evidence, Defendant Grace failed to address any of the four criteria for

demonstrating prejudice for lack of co-defendant testimony. Because Defendant Grace failed to

meet this initial burden, the motion must be denied without further consideration of the balancing

test discussed in cases such as Ramirez.

       C.      Differing Defenses

       Defendant claims that there are “defenses that will be asserted by other Co-Defendants

that will not be asserted by this Defendant and vice versa, which will only serve to confuse the

jury.” This conclusory statement falls well short of the standard. In Zafiro, the Court expressly

rejected the argument that severance is mandated “whenever codefendants have conflicting

defenses.” 506 U.S. at 538. To obtain severance, defenses must be antagonistic. United States

v. Rocha, 916 F.2d 219, 231 (5th Cir. 1990). The “test for antagonistic defenses requires that the

defenses be irreconcilable or mutually exclusive: the jury, in order to believe one defendant’s

defense, must necessarily disbelieve the antagonistic defense of another defendant. In other

words, the core of one defendant'
                                s defense must be contradicted by a co-defendant’s defense.”

Id. Defendant Grace has neither asserted nor established that his defenses are actually

antagonistic to those of the other defendants, and the conclusory statement that the defendants’

positions will not be identical is not sufficient. Zafiro, 506 U.S. at 538.




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II.     Conclusion

        For the reasons stated above, Defendant’s motion to sever or alternatively for separate

juries is denied.

        SO ORDERED AND ADJUDGED this the 29th day of January, 2010.

                                             s/ Daniel P. Jordan III
                                             UNITED STATES DISTRICT JUDGE




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